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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE


 UNITED STATES OF AMERICA,               )
                                         )
                                         )
 V.                                      )    CRIMINAL NO. 2:08-CR-67-DBH-05
                                         )
 GREGORY ODOM,                           )
                                         )
                        DEFENDANT        )


          ORDER ON DEFENDANT’S MOTION FOR APPOINTMENT
             OF COUNSEL AND FOR SENTENCE REDUCTION

      The defendant Gregory Odom has written a letter to the court about his
sentence. I treat it as a request to appoint counsel and reduce sentence on
account of the U.S. Sentencing Commission’s reduction of Guideline sentencing
penalties that are based upon drug quantity, Amendment 782. The Commission
ordered that the change be made applicable to defendants already sentenced,
effective November 1, 2014.     U.S. Sentencing Guidelines Manual app. C,
Amendment 782 (2014); U.S. Sentencing Guidelines Manual § 1B1.10(d) (2014).
      Unfortunately for Mr. Odom, his sentence was based not upon the drug
quantity for which he was responsible, but upon his status as a career offender.
I explained that in detail in my Order of November 3, 2011, issued on his motion
to reduce sentence under an earlier Sentencing Commission amendment. The
same reasoning applies to this request. The Guideline amendment therefore does
not help him.
      Accordingly the motions to appoint counsel and reduce sentence are
DENIED.
      SO ORDERED.
      DATED THIS 6TH DAY OF NOVEMBER, 2014

                                             /S/D. BROCK HORNBY
                                             D. BROCK HORNBY
                                             UNITED STATES DISTRICT JUDGE
